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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

DONALD FALLS, et al.,

             Plaintiffs,
v.                                           Case No. 4:22cv166-MW/MJF

RON DESANTIS, in his official
capacity as Governor of Florida,
et al.,

          Defendants.
_________________________/

         ORDER FOR EXPEDITED SUPPLEMENTAL BRIEFING

      Plaintiffs have filed supplemental authority that they assert supports Dr.

Cassanello’s standing to pursue injunctive relief. ECF No. 59. Namely, Plaintiffs

have filed proposed regulations promulgated by the Defendant Florida Board of

Governors to enforce the IFA. ECF No. 59-1. The Board, Plaintiffs say, is slated to

vote on the regulations on June 29 and 30, 2022.

      Based, on this supplemental authority, this Court is inclined to reserve ruling

on Plaintiffs’ motion for preliminary injunction, at least as to Dr. Cassanello. Both

parties are ordered to file expedited supplemental briefs addressing how—assuming

the Board votes in favor—the proposed regulations impact Dr. Cassanello’s standing

to pursue injunctive relief. The parties should also address how Ch. 2022-70, § 1, at

2, Laws of Fla. (amending § 1001.706, Fla. Stat.) may or may not impact Dr.
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Cassanello’s standing. The parties must file their briefs on or before 12:00 p.m. ET

June 28, 2022.

      SO ORDERED on June 24, 2022.

                                             s/Mark E. Walker             ____
                                             Chief United States District Judge




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